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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  --------------------------------------------------------------X
  JUAN MARTINEZ, et al.,
                            Plaintiffs,                                         REPORT AND
                                                                            RECOMMENDATION
                                                                            21-CV-03613 (GRB) (JMW)
  -against-


  FELIKS & SON STORAGE TANK CORP., et al.,
                            Defendants.
  --------------------------------------------------------------X
  A P P E A R A N C E S:
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  For Plaintiffs Juan Martinez, Jose Pimental,
  Carlos Contreras, Efrain Reyes, and Jowany Castillo

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  For Defendants Feliks & Son Storage Tank Corp.,
  and Feliks & Son Services, LLC

  WICKS, Magistrate Judge:
          Plaintiffs Juan Martinez, Jose Pimental, Carlos Contreras, Efrain Reyes and Jowany

  Castillo (“Plaintiffs”) commenced this action on June 28, 2021, against Defendants Feliks &

  Son Storage Tank Corp., Feliks & Son Services LLC and Feliks Swierzewski 1 asserting violations

  of federal and state labor laws. (DE 1 at 1.) After Defendants Feliks & Son Storage Tank Corp.


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   Plaintiffs did not serve Swierzewski and had requested all claims against him be dismissed without
  prejudice in their response to the Court’s order to show cause. (DE 10.) On January 14, 2022, the Court
  notified Plaintiffs that they must file a proposed order if they wish to dismiss claims against Swierzewski
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  and Feliks & Son Services, LLC (“Corporate Defendants”) failed to appear or otherwise defend

  this action, at Plaintiffs’ request, the Clerk of the Court entered a certificate of default against them

  on January 14, 2022. (DE 9, 11.) Before the Court, on referral from the Hon. Gary R. Brown, is

  the Corporate Defendants’ motion to vacate the entry of default pursuant to Federal Rule of Civil

  Procedure 55(c). (DE 26.)

          For the reasons that follow, the undersigned respectfully recommends to Judge Brown that

  the Corporate Defendants’ motion be granted, and the entry of default be set aside.

                       I.   FACTUAL AND PROCEDURAL BACKGROUND

          Plaintiffs were employed as laborers by the Corporate Defendants who are engaged in the

  business of installing gasoline storage tanks and systems. (DE 1 at 2-3, 3-4.) They allege

  violations of the Fair Labor Standards Act of 1938 (“FLSA”) and various New York State laws.

  (DE 1 at 1.) Under the FLSA, they contend that the Corporate Defendants failed to pay them

  overtime for hours worked in excess of forty hours per week as required under 29 U.S.C. § 207(a).

  (DE 1 at 11-13.) Defendants Feliks & Son Storage Tank Corp. and Feliks & Son Services, LLC

  are a domestic corporation, and a domestic limited liability company, respectively. (DE 1 at 3-4.)

  Both were formed under New York law, and both are owned by Defendant Feliks Swierzewski.

  (DE 1 at 3-4, 6.)

          Plaintiffs served a Summons and Complaint on the Corporate Defendants on August 2,

  2021, and September 10, 2021, respectively (DE 7-8) by delivering the papers to the New York




  but none was filed. (See Electronic Order dated Jan. 14, 2022). At the October 21, 2022, hearing,
  Plaintiffs agreed to, and the undersigned respectfully recommends, dismissal of all claims against
  Swierzewski without prejudice. (Tr. 3:9–4:11 (references to the transcript of the hearing held on October
  21 are referred to as “Tr. ___”).)



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  Secretary of State’s office (“Secretary of State”), who then forwarded these documents to the

  address then on file for the Corporate Defendants, 191 Tulip Ave, Floral Park, New York 11001,

  which later turned out to be an old unused address (“Old Address”). (DE 26-1 at 2.) As of 2018,

  according to the Corporate Defendants, their principal place of business was 142 Fairview Blvd,

  Hempstead, NY 1150 (“New Address”). (DE 26-1 at 4.) Swierzewski alleges that he mistakenly

  thought that his accountant updated the Corporate Defendants’ address with the Secretary of State

  when he updated them for tax and other purposes because he himself was unaware of the

  requirement. (DE 26-1 at 2; Tr. 20:18-22.) The Corporate Defendants further allege that since the

  address on file was outdated, they did not receive the Summons and Complaint until the end of

  November 2021 when someone from the Episcopal Church located at the Old Address informed

  them of lingering mail.     (DE 26-1 at 2; Tr. 21:6–18.)        However, Plaintiffs maintain that

  Swierzewski was in fact aware of the lawsuit as early as August 2021. (Tr. 14:10–13.)

         In the interim, there has been little activity on the docket of this case. Accordingly, on

  January 11, 2022, shortly after the undersigned issued an order to show cause why a

  recommendation for dismissal should not be made to Judge Brown for failure to prosecute,

  Plaintiffs requested a certificate of default. (See Electronic Order dated Dec. 29, 2021, DE 9.) On

  January 14, 2022, the Clerk of the Court made an entry of default against the Corporate

  Defendants, pursuant to Rule 55(a), for failing to appear or otherwise defend this action. (DE 11.)

  On the same day, the Court granted Plaintiffs’ request for leave to file a motion for default

  judgment against the Corporate Defendants. (DE 11). Four months later, on May 20, 2022, after

  requesting a series of extensions of time, Plaintiffs filed their motion for default judgment, but it

  was ultimately deemed withdrawn due to procedural defects. (See DE 11-17.)




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          Two months after that, on July 8, 2022, the Corporate Defendants appeared in this action

  and filed the instant motion to vacate the entry of default entered by the Clerk. (DE 17-20.) On

  July 21, 2022, the Hon. Gary R. Brown then referred this motion to the undersigned for a Traverse

  Hearing and ultimately a Report and Recommendation. (See Electronic Orders dated Jul. 21,

  2022.) On July 25, 2022, the undersigned directed the parties to appear for a hearing regarding

  the propriety of service and for argument as to Corporate Defendants’ motion to vacate the entry

  of default (see Electronic Order dated Jul. 25, 2022), which was ultimately held on October 21,

  2022.

          The issues considered at the hearing included the following: (1) whether service upon the

  Secretary of State was proper, and (2) when and how the Corporate Defendants became aware of

  this action for purposes of considering willfulness. Swierzewski, and Plaintiffs Juan Martinez and

  Jose Pimental, all testified at the hearing.

                          II.    LEGAL STANDARD UNDER RULE 55(c)

          Rule 55(a) of the Federal Rules of Civil Procedure provides that “[w]hen a party against

  whom a judgment for affirmative relief is sought has failed to plead or otherwise defend . . . the

  clerk shall enter the party’s default.” Fed. R. Civ. P. 55(a). Once a default is entered by the Clerk,

  “[t]he court may set aside an entry of default for good cause.” Fed. R. Civ. P. 55(c). The court

  weights three factors in determining whether good cause exists to vacate an entry of default: (1)

  the willfulness of default, (2) the existence of any meritorious defenses, and (3) prejudice to the

  non-defaulting party. See Enron Oil Corp. v. Diakuhara, 10 F.3d 90, 96 (2d Cir. 1993). The

  burden rests squarely with the defaulting to demonstrate that a vacatur is warranted and appropriate

  under the circumstances. See In re Martin-Trigona, 763 F.2d 503, 505 n.2 (2d Cir. 1985).




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         The disposition of a motion for relief from an entry of default is “left to the sound discretion

  of the district court because it is in the best position to assess the individual circumstances of a

  given case and to evaluate the credibility and good faith of the parties.” Enron Oil Corp., 10 F.3d

  at 95; Rolle v. Hardwick, No. 14-CV-5247 (JS)(AYS), 2016 U.S. Dist. LEXIS 60112, at *6

  (E.D.N.Y. May 4, 2016). There is, of course, a strong preference “for resolving disputes on the

  merits,” and refusal to set aside default is an “extreme measure [that] should be reserved by a trial

  court as a final, not a first, sanction imposed on a litigant.” Enron Oil Corp., 10 F.3d at 96. Thus,

  any doubt “as to whether a default should be granted or vacated” must be “resolved in favor of the

  defaulting party.” Id. at 96.

         The Court is also mindful that when a certificate of default has been entered by the Clerk

  of the Court, but no default judgment has been entered, then Rule 55(c) applies, which is a more

  lenient standard than to set aside a default judgment under Rule 60(b). See Meehan v. Snow, 652

  F.2d 274, 276 (2d Cir. 1981) (“[T]he standard for setting aside the entry of a default pursuant to

  Rule 55(c) is less rigorous than the ‘excusable neglect’ standard for setting aside a default

  judgment by motion pursuant to Rule 60(b).”). It is against this backdrop that the Court

  considers the present motion.

                                         III.   DISCUSSION

             A.   Propriety of Service

         As a threshold matter, the Corporate Defendants dispute the propriety of service. (DE 25

  at 11.) Specifically, they claim that the service – here, made upon service on the Secretary of

  State – was constitutionally improper because Plaintiffs had actual notice that the Corporate

  Defendants’ address had changed since Plaintiffs had visited their owner Feliks Swierzewski at

  the New Address. (Feliks Aff. ¶ 14.) That argument, however, misconstrues the law of New

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  York concerning service of process upon a corporation, and under the circumstances, its

  constitutional validity. The Corporate Defendants have failed to provide any evidence sufficient

  to establish that Plaintiffs had actual knowledge that the address on file with the Secretary of

  State was incorrect.

         A corporation may be served in accordance with the law of the state where the federal

  district court sits or where service is effectuated. See Fed. R. Civ. P. 4(h)(1)(A), 4(e)(1). Under

  New York law, the Secretary of State is the designated agent for service for corporations. N.Y.

  Bus. Corp. Law § 306(b)(1); see also Baker v. Latham, 72 F.3d 246, 255-56 (2d Cir. 1995).

  Though the Secretary of State must send copies of papers served to the address on file, it is

  axiomatic that “[s]ervice of process [on a corporation] shall be complete when the secretary of

  state is . . . served.” See Baker, 72 F.3d at 255. That is, from a plaintiff’s perspective, once proper

  service is made upon the Secretary of State, service on the corporation has been effectuated.

         The Corporate Defendants essentially argue that Plaintiffs had known the address on file

  with the Secretary of State was incorrect because “several of them” had visited Swierzewski’s

  home on multiple occasions, and thus, service was not “reasonably calculated” to provide them

  with notice of this action. (DE 25 at 11-12, DE 33 at 3-5.) The Court rejects this argument. Under

  New York law, a corporation is obligated to update and keep current its corporate records,

  particularly its place of business and agent for service of process. See Sheldon v. Plot Com., No.

  15CV5885 (CBA) (CLP), 2016 WL 5107072, at *7-8 (E.D.N.Y. Aug. 26, 2016) (“[I]t is a

  corporation’s obligation to keep on file with the Secretary of State the current address of an agent

  to receive service of process.”).

         The authorities relied upon by Corporate Defendants do not fully support their contention.

  For example, they cite to the district court’s opinion in Baker for the proposition that service may



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  be constitutionally invalid where the serving party has actual knowledge that the address was

  improper. (DE. 25 at 11). See Baker v. Latham, 808 F. Supp. 981, 984 (S.D.N.Y Mar. 23, 1992),

  aff’d on other grounds, 72 F.3d 246, 255-56 (2d Cir. 1995). 2

          On appeal, the Second Circuit did not credit the district court’s assertion that actual

  knowledge of the corporation’s improper address overcomes the well-established propriety of

  service on the Secretary of State. See Baker, 72 F.3d at 255. To the contrary, the court found that

  the corporation’s untimely receipt of service due to its own failure to update its address with the

  Secretary of State as required did not offend due process. See id. (“In short, if as here a [plaintiff]

  employs a procedure reasonably calculated to achieve notice, successful achievement is not

  necessary to satisfy due process requirements.”). More importantly, the court stated that, in

  “rejecting the dispositive effect” of that principle, the district court improperly relied on an

  unsupported allegation that the party effecting service had actual knowledge that the address on

  file with the Secretary of State was outdated. Id.

          Similarly, the Corporate Defendants here, both through their briefs and at the hearing,

  proffered no evidence to support their conclusory allegation that Plaintiffs had actual knowledge

  that the Corporate Defendants’ address for service of process had changed, nor do we find any in

  the record. (DE 25 at 12.) Swierziewski’s primary argument is that Plaintiffs were aware of his

  new address because they had visited him there. (Feliks Aff. ¶ 2.) Even assuming Plaintiffs visited

  Swierziewski in Hempstead, which the Court finds happened, no evidence was proffered that



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    The Court notes that Corporate Defendants cited Baker v. Latham, 808 F. Supp. 981, 984 (S.D.N.Y Mar.
  23, 1992) without citation or reference to its subsequent history. (See DE 25.) That history, which
  undermines their position here, should have been cited. See Village of Freeport v. Barrella, 814 F.3d
  594, 609 n. 60 (2d Cir. 2016) (reminding the bar of a lawyer’s affirmative duty to advise court of adverse
  precedent); Gesualdi v. Danielle Rigging, Inc., No. 09-CV-2124, 2011 WL 2516521, at *2, fn.5 (NGG)
  (ALC) (E.D.N.Y. June 23, 2011) (“New York Rules of Professional Conduct require lawyers to inform
  the court of adverse, controlling legal authority.”).

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  Plaintiffs were ever made aware that the Corporate Defendants relinquished Floral Park as a

  corporate address. In fact, the evidence adduced at the hearing raises a strong inference that the

  Corporate Defendants continued some presence in Floral Park even though Swierziewski moved

  his residence to Hempstead.

         The Corporate Defendants’ argument also presupposes that Plaintiffs were aware of what

  specific address was on file with the Secretary of State at the time they served the Summons and

  Complaint. Even if true, Plaintiffs were not tasked with making the mental leap that a change in

  Swierzewski’s personal home address equated to a change in Corporate Defendants’ address for

  service of process — particularly where public records clearly reflected the Old Address. (DE 28-

  3.) Swierziewski himself testified at the hearing that he maintained an active connection to the

  Old Address for a period of time following 2018 by collecting mail from the Church and also

  maintaining a Post Office box at the Floral Park Post Office. (Tr. 27:15–29:4)

         The authority relied upon by the Corporate Defendants is of no avail.

         In Robinson, where the government mailed a notice of pending forfeiture proceedings to

  the home address on file with the Illinois Secretary of State pursuant to a vehicle forfeiture statute,

  the defendant there was known to be incarcerated by reason of his conviction. See Robinson v.

  Hanrahan, 409 U.S. 38, 38-39 (1972). The Court reasoned that service did not satisfy basic due

  process since “the State knew that appellant was not at the address to which the notice was mailed

  and, moreover, knew also that appellant could not get to that address since he was at that very time

  confined . . . .” Id. at 40. Thus, the Court found that “[u]nder these circumstances, it cannot be

  said that the State made any effort to provide notice which was ‘reasonably calculated’ to apprise

  appellant of the pendency of the forfeiture proceedings.” Id.




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         The circumstances here bear no resemblance. Here, the Corporate Defendants have not

  provided even a scintilla of evidence to charge Plaintiffs with actual knowledge that Corporate

  Defendants’ address on file with the Secretary was incorrect. The very fact that the Corporate

  Defendants continued to maintain a Floral Park PO box, collecting mail from the box and from the

  church for years, belies the argument that Plaintiffs somehow knew the Corporate Defendants’ Old

  Address was no longer a valid address for the corporations.

         The Corporate Defendants also cite generally to Sheldon to support the proposition that a

  plaintiff’s actual knowledge that the defendant’s address has changed is not “reasonably calculated

  service.” (See DE 25 at 11 (citing Sheldon, 2016 WL 5107072, at *7-8)). In Sheldon, the court

  expressly stated that service upon the Secretary of State was complete upon receipt without regard

  to whether the defendant even received the papers. See Sheldon, 2016 WL 5107072, at *7-8.

  There like here, the plaintiff served the defendant through the Secretary of State. Id. The

  defendant, a corporation registered to do business in New York, had the wrong address on file with

  the Secretary of State. Id. The address on file was a vacant building under construction and the

  defendant had not left any forwarding address. Id. at *3. The plaintiff made other attempts to

  serve the defendant such as through the attorney the defendant had retained for pre-suit settlement

  discussions, but that attorney said she did not represent the defendant in the suit. Id. at *2-3. After

  discussing the propriety of service through the Secretary of State under federal law, the court

  concluded that service was properly effectuated under New York Business Corporation Law

  Section 306. Id. at *8.

         Sheldon is no lifeboat for the Corporate Defendants. They were registered to do business

  in New York, served through the Secretary of State, and did not have their correct address on file




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  as they should have. And again, they have not demonstrated that Plaintiffs had actual knowledge

  that their address on file with the Secretary of State was incorrect.

         The Corporate Defendants’ reliance on the remaining authority they cite is also misplaced.

  Specifically, they rely on cases that did not address service through the Secretary of State. See,

  e.g., Adeyi v. U.S., No. 06CV3842(ARR)(LB), 2008 WL 793595, at *4-5 (E.D.N.Y. Mar. 25,

  2008) (concerning a “Final Administrative Action” letter sent to the defendant’s home address

  when the government knew the defendant was incarcerated and the address was not his current

  address); Acosta v. U.S., No. 12-MC-793 (ARR), 2013 WL 2444172, at *2 (E.D.N.Y. Jun. 5, 2013)

  (concerning a forfeiture notice mailed to the defendant’s home address when the government knew

  the defendant was incarcerated). These cases, however, are factually dissimilar and shed no light

  on the issue of whether service on the New York Secretary of State is valid under the present

  circumstances.

         The record is clear here that Plaintiffs served the Summons and Complaint upon the

  Secretary of State. (DE 7-8.) That method completed service.            The Corporate Defendants’

  conclusory assertions do not support an inference that Plaintiffs had actual knowledge that their

  business address on file with the Secretary of State was incorrect. Thus, due process was not

  offended.    Therefore, the Court finds that service upon Corporate Defendants was both

  procedurally and constitutionally proper. Now the Court turns to whether good cause exists for

  vacating the entry of default.




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              B. Do Grounds Exist to Vacate the Default?

           The three grounds – willfulness, meritorious defense, and prejudice – are considered
  below.

                      i. Willfulness:

           “[W]illfulness requires something more than mere negligence, such as egregious or

  deliberate conduct, although the degree of negligence in precipitating a default is a relevant factor

  to be considered.” Loop Prod. v. Capital Connections LLC, 797 F. Supp. 2d 338, 346 (S.D.N.Y.

  2011). In making this determination, the Court may consider whether a defendant’s failure to

  timely answer “was the result of a good faith mistake.” See Sony Corp. v. Elm State Elecs., Inc.,

  800 F.2d 317, 320 (2d Cir. 1986). Additionally, the Court can consider whether a defendant

  promptly moved to correct the default and whether it purposefully hid its address to avoid service

  of process. See Dow Chem. Pacific Ltd. v. Rascator Maritime S.A., 782 F.2d 329, 336 (2d Cir.

  1986) (affirming the trial court’s finding that defendant did not move within a reasonable time

  where his motion for vacatur was filed seven months after learning of the default); Llolla v. Karen

  Gardens Apt. Corp., No. 12-CV-1356 (MKB) (JO), 2016 WL 233665, at *3 (E.D.N.Y. Jan. 20,

  2016). The Court will resolve doubts against default and in favor of a trial on the merits. See

  Meehan, 652 F.2d at 277 (“Defaults are not favored, particularly when the case presents issues of

  fact, and doubts are to be resolved in favor of a trial on the merits.”)

           The Corporate Defendants represent that their failure to update their address for purposes

  of service with the Secretary of State was due to Swierzewski’s mistaken belief that his outside

  accountant had done so when updating their address for tax records. (Feliks Aff. ¶ 12.) They

  contend that this failure does not support a finding of willfulness sufficient to deny their motion to

  vacate the default. (DE 25 at 9-10.) Plaintiffs in turn assert that the Corporate Defendants have

  disregarded their obligations under New York Law by failing to update their address with the

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  Secretary of State. (DE 27 at 7.) Plaintiffs also note that online public records allegedly reflect

  that the Corporate Defendants have yet to update their address with the Secretary of State. (DE

  27-8.)

           The Second Circuit has found that “failure either to collect corporate mail sent to the [prior]

  address or to change the address for service of process with the Secretary of State constitutes a

  willful disregard of legal process and a willful default.” See In re Martin-Trigona, 763 F.2d at

  505-06. But here, Swierzewski was purportedly unaware that the address had not been updated or

  that business mail was still going to the Old Address at the time of service. (Feliks Aff. ¶ 12-13.)

  He states that he mistakenly thought the Corporate Defendants’ “outside accountant changed the

  address with the New York Secretary of State at the same time it changed the address for all tax

  filings.” (Feliks Aff. ¶ 12.) And since the address had changed three years prior to service, he no

  longer automatically received mail forwarding from that address. (Feliks Aff. ¶ 13.) The Court

  finds Swierzewski’s testimony that he was unaware that his business address with the Secretary of

  State was incorrect to be credible. 3




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    Plaintiffs argue that Swierzewski “knew or should have known” that the address on file with the
  Secretary of State was outdated since in early 2021 the Corporate Defendants filed an answer in an
  unrelated state court case after service was effectuated through the Secretary of State at the Old Address,
  see Gibson v. 2947 Jerome Ave. Service Station, Inc., No. 22241/2019E (N.Y. Sup. Ct., Bronx Cnty. filed
  Feb. 22, 2019). (DE 32 at 2-3.) This argument is deficient for numerous reasons. But chief among them
  is that though some documents filed by the plaintiffs in that case note the Old Address, none of those
  documents clearly indicate what address the Secretary of State had on file for Corporate Defendants. The
  documents only indicate that the Secretary of State had been served. This does not sufficiently rebut the
  evidence supporting Swierzewski’s mistaken belief regarding the need to update the address.
  More importantly, the Court provided the parties with an opportunity to submit supplemental letters
  marshalling the facts from the evidentiary hearing. (Tr. 51:6-11.) This was not an invitation to submit
  new evidence as Plaintiffs attempted to do in their letter. (See DE 32.) Plaintiffs had the opportunity to
  present this evidence through their briefing or at the hearing where they could have questioned
  Swierzewski and given him an opportunity to explain it. Thus, the Court need not consider it. See, e.g.,
  Khaldei v. Kaspiev, No. 10 CIV. 8328 JFK, 2014 WL 2575774, at *4 (S.D.N.Y. Jun. 9, 2014) (refusing to
  consider exhibits offered after evidentiary hearing).

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          Additionally, the Corporate Defendants’ allegation that Plaintiffs knew of the New Address

  because they visited Swierzewski there does not cure their failure to update their address with the

  Secretary of State for purposes of proper process. However, it does support an inference that the

  Corporate Defendants did not purposefully make their address unavailable, which in this Court’s

  view mitigates against a finding of willfulness. See e.g., Llolla, 2016 WL 233665, at *3 (noting

  that defendant did not hide their address from plaintiff).

          Under the circumstances, the Court finds that Swierzewski’s mistaken belief that the

  accountant updated the address for service of process with the Secretary of State was not

  tantamount to a willful disregard of legal process, but instead “was the result of a good faith

  mistake.” See Sony Corp., 800 F.2d at 320; see also Llolla, 2016 WL 233665, at *3 (noting that a

  defendant’s failure to update their address with the Secretary of State is insufficient evidence

  standing alone to establish willfulness and the court should look at “the broader context of the

  dispute”).

          Second, Plaintiffs argue that the Corporate Defendants did not satisfactorily explain their

  default because they have failed to allege sufficiently specific facts to show they moved promptly

  to vacate the default. (DE 26 at 1.) Specifically, Plaintiffs ask the Court to infer willfulness from

  the Corporate Defendants’ failure to provide a satisfactory explanation of when they become aware

  of the lawsuit, steps they took thereafter to defend this suit, and the relevant dates. (DE 26 at 7.)

  However, considering the hearing testimony, the Corporate Defendants have sufficiently explained

  and justified their default.

          Third, the parties dispute when the Corporate Defendants (i.e., Swierzewski) became aware

  of the lawsuit, and whether they acted promptly to vacate the default. Swierzewski admits being

  aware of the lawsuit as early as November 2021. (Tr. 21:6–18.) Indeed, he maintains that he



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  become aware of the Summons and Complaint after someone from the Church located at the Old

  Address informed him of lingering mail toward the end of November 2021. (Feliks Aff. ¶ 13; Tr.

  21:6–14.) Plaintiffs Juan Martinez and Jose Pimental, who both primarily speak Spanish and

  testified through an interpreter, 4 alleged that they received calls from Swierzewski, 5 who primarily

  speaks polish, as early as August 2021, related to the lawsuit. (Tr. 56:19–21, 59:2–7, 64:14–66:5.)

  After hearing the testimony of the parties and considering all of the evidence, the Court finds that

  the evidence suggests that Swierzewski may have been aware of the lawsuit as early as August of

  2021, but the Court does not fully credit either party’s alleged timeline. (Tr. 66:13–18.) At the

  very least, the evidence is clear Swierzewski learned of the lawsuit and received the Summons and

  Complaint in November 2021.

          Regardless, the Court credits Swierzewski’s testimony that he made reasonable efforts to

  engage counsel in order to appear and vacate the entry of default such that he did not willfully

  default. The Clerk of the Court entered default against on January 14, 2022, and Corporate

  Defendants appeared and moved to vacate default less than six months later on July 8, 2022. (DE

  11, 17-20). Swierzewski credibly testified that he made a genuine effort to contact his current

  counsel, Robert Modica but did not hear from him until around May of 2022 after the time to

  answer had elapsed. (Tr. 21:19–22:9.) 6 And in the interim, he made diligent efforts to reach out


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    The Court swore in and deemed qualified an interpreter offered by Plaintiff over Defendants objections
  that she was uncertified. (Tr. 52:18–54:25.) The district court has the discretion to qualify an interpreter.
  See Act II Jewelry, LLC v. Zhu, No. 2:09CV407, 2010 WL 11450509, at *3 (E.D. Va. Feb. 19, 2010)
  (finding an interpreter with fourteen years of experience translating to be qualified); see also U.S. v. Ball,
  988 F.2d 7, 9 (5th Cir. 1993) (“A trial court’s decision to appoint an interpreter is reviewed under an
  abuse of discretion standard.”).
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   The Court sustained Corporate Defendants’ objections to introduction of unauthenticated screenshots of
  calls that Plaintiffs attempted to introduce into evidence. (Tr. 57:1–58:3, 59:11–60:19.)
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   Mr. Modica, although present in the courtroom for the hearing, was not called to testify as to when he
  was contacted by Swierzewski.


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  to various attorneys to engage them, even enlisting his accountant in the search, but none agreed

  to take the case. (Tr. 22:2–5, 42:14.) When Swierzewski, who did not have access to the Court’s

  online system, successfully secured counsel in May of 2022, and learned of the entry of default,

  he promptly moved to vacate two months later. See Llolla, 2016 WL 233665, at *3 (finding that

  defendants’ promptly response to the default judgments counseled against willfulness); see also

  Dow Chem. Pacific Ltd., 782 F.2d at 336 (finding motion to vacate made seven months after

  learning of the entry of default as unreasonable). 7

         Perhaps Swierzewski could have pursued other alternatives if he was having trouble

  securing counsel. But after considering the evidence presented, and resolving doubts in Corporate

  Defendants’ favor, the Court finds that Swierzewski’s foot-dragging actions amount to nothing

  more than negligence, rather than willfulness. Therefore, the Court finds that the default was not

  willful under the circumstances. Cf. Am. All. Ins. Co. v. Eagle Ins. Co., 92 F.3d 57, 61 (2d Cir.

  1996) (noting in the less forgiving Rule 60(b) context that the Court looks for bad faith or

  “something more than mere negligence”).

                     ii. Meritorious Defense
         The Corporate Defendants have presented evidence “beyond conclusory denials” to show

  they have a potentially meritorious defense to this action. Enron Oil Corp., 10 F.3d at 98. The

  key inquiry under this prong is not “whether there is a likelihood that it will carry the day, but

  whether the evidence submitted, if proven at trial, would constitute a complete defense.” Id.

  Plaintiffs allege that Corporate Defendants violated the FLSA by failing to pay overtime wages at

  the rate of one and a half times their hourly rate above forty hours worked per week. See 29 U.S.C.



  7
   The Corporate Defendants maintain that unlike a Rule 60(b) motion for vacatur, a motion under Rule
  55(c) does not require them to move within a “reasonable time.” (DE 25 at 16). Since promptly moving
  for vacatur is considered under whether a party willfully defaulted, this argument is immaterial.

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  § 207(a); see also Tran v. Alphonse Hotel Corp., 281 F.3d 23, 31 (2d Cir. 2002). The Corporate

  Defendants argue three defenses. In support of these defenses, they submitted an affidavit by

  Swierzewski and sample pay roll records.

         First, the Corporate Defendants state that Defendant Feliks & Son Services, LLC (owned

  by Swierzewski) has no employees and generates less than $500,000 in revenue annually. (Feliks

  Aff. ¶ 8, 9.) If proven at trial, this would constitute a complete defense for Defendant Feliks &

  Son Services, LLC against any alleged overtime violations of the FLSA.

         Second, they allege that Swierzewski is in possession of payroll records that contradict the

  hours worked by Plaintiffs and refute their FLSA claims. (Feliks Aff. ¶ 17-21.) As a sample, they

  provided the 2016 payroll records of Plaintiff Efrain Reyes. (See DE 26-2.) These records indicate

  that the Corporate Defendants have kept payroll records. If they indeed possess payroll records

  disputing Plaintiffs’ FLSA allegations, which would likely be produced through the course of

  discovery, it would raise a triable issue of fact for the jury to consider. If Swierzewki’s statements

  are credited and proven to be true at trial, the Corporate Defendants would have a complete defense

  against Plaintiffs’ FLSA claims. Thus, the Corporate Defendants have presented a potentially

  meritorious defense. See, e.g., Angel v. Queens Blvd. Car Wash, No. 06-CV-6667 (CBA), 2008

  WL 111159, at *7 (E.D.N.Y. Jan. 8, 2008), report and recommendation adopted, Order (Jan. 8,

  2008), Dkt. No. 41.

         Third, the Corporate Defendants assert that a showing that the FLSA violation was “made

  in good faith and that there were reasonable grounds for believing it was not a violation” is a

  defense to such alleged violations. (DE 26 at 5.) Although a successful good faith defense can

  avoid liability for an FLSA overtime wage violation, “the statute itself requires that the defendant

  ‘pleads and proves that the act or omission complained of was in good faith in conformity with



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  and in reliance on’ at least one of a variety of sources.” Scott v. Chipotle Mexican Grill, Inc., 67

  F.Supp 3d 607, 612 (S.D.N.Y. 2014). The Corporate Defendants have not provided evidence that

  if proved at trial would show that they, in good faith, conformed with or relied on any, for example,

  “written administrative regulation, order, ruling, approval, or interpretation’ of the Administrator

  of the Wage and Hour Division of the Department of Labor” with respect to any “act[s] or

  omission[s] complained of.” See id. Thus, they have not provided evidence to show that this a

  potentially meritorious defense.

          Finally, the Corporate Defendants argue that they have a valid statute of limitations defense

  because Plaintiffs seek to apply a toll to their claims. (DE 26 at 6.) The nature of their argument

  in unclear. However, even assuming the toll does not apply to Plaintiffs’ claims, the statute of

  limitations is still at least two years. See id. (“A lack of willfulness also affects the Act’s statute

  of limitations, which is generally two years but extended to three years for willful violations.”).

  Plaintiffs commenced this action on June 28, 2021, and so a portion of their claims would still be

  within the two-year period. (DE 1 at 1). For example, four Plaintiffs alleged that in the week

  ending “November 30, 2019” they worked over 40 hours but were not paid overtime. (DE 1 at 8-

  10). Thus, this also would not be a complete defense in this action even if proven at trial.

          Nonetheless, the Corporate Defendants have carried their burden of showing the existence

  of at least one potentially meritorious defense. See Enron Oil Corp., 10 F.3d at 98. Notably,

  Plaintiffs have not rebutted this evidence nor responded to the Corporate Defendants arguments,

  instead their briefs are virtually silent on this issue. 8 Overall, this factor weighs in favor of vacatur.


  8
    Plaintiffs did not address or rebut arguments concerning the “prejudice” or “meritorious defense”
  factors. Rather, they simply note that the Court possesses the discretion to turn a blind-eye to these
  factors if it finds willful default. (See DE 27.) The chickens of course, should never be counted before
  they are hatched. Claiming willful default ends the inquiry, Plaintiffs cite cases using the more rigorous
  standard for vacatur of a default judgment, but even then, no single factor is dispositive. See I.L. G.W.U.
  Nat. Ret. Fund v. Meredith Grey, Inc., 986 F. Supp. 816, 823 (S.D.N.Y. 1997). Regardless, the Court in

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                     iii. Prejudice
          The final factor the Court must consider is whether Plaintiff would be prejudiced if

  Corporate Defendants’ motion to vacate were granted. Plaintiffs were silent on the issue of

  prejudice in their opposition brief. (See DE 27.) In any event, prejudice toward Plaintiff would

  be minimal. This case has gone no further than filing of the complaint. There is also no indication

  records or witnesses are no longer available. And as noted above, Plaintiffs too have delayed in

  the prosecution of this suit.

          Plaintiffs requested a certificate of default three months after executing the summonses

  against Corporate Defendants and only after the undersigned ordered Plaintiffs to show cause as

  to why he should not recommend this case for dismissal to the Hon. Gary R. Brown for failure to

  prosecute. (See Electronic Order dated Dec. 29, 2021.) There was then a six-month delay between

  the entry of default to when Corporate Defendants moved to vacate. (DE 11, 18.) But Plaintiffs

  filed their motion for default judgment four months after the entry of default, and only two months

  before Corporate Defendants moved to vacate, because of numerous extensions requested by

  Plaintiffs. And the motion for default judgment was ultimately withdrawn with leave to renew in

  compliance with the Hon. Gary R. Brown’s individual rules. (See Electronic Order dated May 24,

  2022). The delay attributable solely to the Corporate Defendants’ tardy appearance is minimal.

  And Plaintiffs have failed to articulate any species of prejudice. Thus, this factor weighs in favor

  of vacating the entry of default. See Enron Oil Corp., 10 F.3d at 98 (“[D]elay standing alone does

  not establish prejudice.”).




  the exercise of its discretion, would consider whether if it found willful default that would be enough.
  Moreover, as the Corporate Defendants note, Plaintiffs’ silence on the prejudice prong does not favor
  them. See Jones v. Cuomo, 542 F. Supp. 3d 207, 216 n.2 (S.D.N.Y. 2021) (collecting cases that note the
  failure to address arguments raised in an opponent’s brief can be treated as an abandonment or concession
  of those arguments).

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           Given courts’ preferences for resolving disputes on the merits, and considering the triable

  issues of fact presented by the record, the Court resolves any doubts in favor of the Corporate

  Defendants. See Meehan, 652 F.2d at 277 (“Defaults are not favored, particularly when the case

  presents issues of fact, and doubts are to be resolved in favor of a trial on the merits.”); Enron Oil

  Corp., 10 F.3d at 96 (any doubt “as to whether a default should be granted or vacated” must be

  “resolved in favor of the defaulting party.”).

             On balance, the factors weigh in favor of finding good cause for vacating the entry of

  default.

                                            CONCLUSION

           In sum, the Court finds that the relevant factors weigh in favor of vacatur. Accordingly,

  the undersigned respectfully recommends that the Corporate Defendants’ motion to vacate the

  entry of default be granted with leave to file an answer within a defined period of time set by Judge

  Brown.

                                         IV.       OBJECTIONS

           A copy of this Report and Recommendation is being electronically served on counsel. Any

  written objections to this Report and Recommendation must be filed with the Clerk of the Court

  within fourteen (14) days of service of this Report. 28 U.S.C. § 636(b)(1) (2006 & Supp. V 2011);

  Fed. R. Civ. P. 6(a), 72(b). Any requests for an extension of time for filing objections must be

  directed to the district judge assigned to this action prior to the expiration of the fourteen (14) day

  period for filing objections. Failure to file objections within fourteen (14) days will preclude

  further review of this Report and Recommendation either by the District Court or the Court of

  Appeals. Thomas v. Arn, 474 U.S. 140, 145 (1985) (“a party shall file objections with the district

  court or else waive right to appeal”); Caidor v. Onondaga Cnty., 517 F.3d 601, 604 (2d Cir. 2008)


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  (“failure to object timely to a magistrate’s report operates as a waiver of any further judicial review

  of the magistrate’s decision”); see Monroe v. Hyundai of Manhattan & Westchester, 372 F. App’x

  147, 147–48 (2d Cir. 2010) (same).

  Dated:         Central Islip, New York
                 November 1, 2022
                                                         SO     ORDERED


                                                         /S/   James M. Wicks
                                                           JAMES M. WICKS
                                                         United States Magistrate Judge




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